ute 35 and/or 32(b) FFlCrP en

Case 2:04-cr-20168-SH|\/| Document 62 Filed 06/13/05 Page 1 of 2 Page|D 66

IN THE UNITED STATES DISTRICT COURT
FOR THE W'ESTERN DISTRICT OF TEN'NESSEE
WESTERN DIVISION

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UNITED STATES OF` AMERICA,
Plaintiff,
CR. NO. 04-20168-Ma

VS.

NANA ASANTEWAA,

~_/~_/\_l~_/~._’~_/V-_/~._/

Defendant.

assent n .; inv
crest :_;:`S iis'r."{c‘::§
W.l:}. {`J`F '?`?‘J, W:EMJFHIS

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EX.CLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Counsel

requested a continuance of the trial date in order to allow for

additional preparation in the case and due to the unavailability of

essential defense witnesses.

The Court granted the request and continued the trial to the

rotation docket beginning September 6, 2005 at 9:30 a.m.,

report date of Friday, August 26, 2005 at 2:00 p.m.

with a

The period from May 31, 2005 through September 16, 2005 is

excludable under lS U.S.C. §§ 3161(h)(8)(B)(iv)

and

3l6l{h)(8)(A)(iv) because the interests of justice in allowing

additional time to prepare and continuity' of defense counsel

outweigh the need for a speedy trial.

IBYL

IT IS SO ORDERED thiS day Of Jul'le, 2005.

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UNITED STATES DISTRIC'I' JUDGE ' -

UNITD sATEs ISTRIC COURT - ESTER DISITRCT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CR-20168 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

